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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


    In re:                                                   Chapter 11

    BOY SCOUTS OF AMERICA AND                                Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                             (Jointly Administered)
                             Debtors.


       NOTICE OF SECOND AMENDED2 AGENDA OF MATTERS SCHEDULED FOR
                HEARING ON SEPTEMBER 9, 2020, AT 10:00 A.M. (ET)


                 This hearing will be held telephonically and by video. All parties
                 wishing to appear must do so telephonically by contacting
                 COURTCALL, LLC at 866-582-6878 no later than September 9 at
                 8:30 a.m. to sign up. Additionally, anyone wishing to appear by
                 Zoom is invited to use the link below. All parties that will be arguing
                 or testifying must appear by Zoom and CourtCall. Participants on
                 CourtCall should dial into the call not later than 10 minutes prior to
                 the start of the scheduled hearing to insure a proper connection.

                  PLEASE NOTE THAT THE MICROPHONES ON THE ZOOM
                  MEETING WILL BE MUTED AND THE ONLY AUDIO WILL
                              BE THROUGH COURTCALL

                              Topic: Boy Scouts of America 20-10343
                      Time: September 9, 2020 10:00 AM Eastern Time (US and
                                             Canada)

                                        Join ZoomGov Meeting
                            https://debuscourts.zoomgov.com/j/1607959877

                                         Meeting ID: 160 795 9877
                                            Passcode: 584382

                                              Join by SIP
                                      1607959877@sip.zoomgov.com


1
 The Debtors in the chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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    Amended items appear in bold.
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RESOLVED MATTER

1.   Motion of 1040 Avenue of the Americas, LLC for Relief from the Automatic Stay to Setoff
     Prepetition Security Deposit (D.I. 1094, Filed 8/11/20).

     Objection Deadline: August 25, 2020, at 4:00 p.m. (ET).

     Responses Received: None.

     Related Pleadings:

            a)     Certification of Counsel Regarding Order Approving Stipulation Granting
                   Limited Relief from the Automatic Stay to Set off Prepetition Security
                   Deposit (D.I. 1163, Filed 8/26/20); and

            b)     Order Approving Stipulation Granting Limited Relief from the Automatic
                   Stay to Set off Prepetition Security Deposit (D.I. 1193, Entered 8/3/20).

     Status: An order has been entered. No hearing necessary.

WITHDRAWN MATTER

2.   Motion for Relief from Automatic Stay to Continue Negotiations with Travelers Insurance
     Company (D.I. 1086, Filed 8/10/20).

     Objection Deadline: August 31, 2020, at 4:00 p.m. (ET).

     Responses Received: None.

     Related Pleadings:

            a)     Notice of Withdrawal of Motion for Relief from Automatic Stay to
                   Continue Negotiations with Travelers Insurance Company (D.I. 1152, Filed
                   8/26/20).

     Status: This matter has been withdrawn.

ADJOURNED MATTER

3.   Motion of Official Committee of Tort Claimants Enforcing Automatic Stay Under 11
     U.S.C. §§ 362(a)(3) and 541(a) Against Middle Tennessee Council Arising from Transfers
     of Property of the Estate (D.I. 1084, Filed 8/7/20).

     Objection Deadline: August 21, 2020, at 4:00 p.m. (ET). Extended to September 30, 2020,
     at 4:00 p.m. (ET).

     Responses Received: None.

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     Related Pleadings:

            a)     Re-Notice of Motion of Official Committee of Tort Claimants Enforcing
                   Automatic Stay Under 11 U.S.C. §§ 362(a)(3) and 541(a) Against Middle
                   Tennessee Council Arising from Transfers of Property of the Estate (D.I.
                   1140, Filed 8/24/20).

     Status: This matter has been adjourned to the hearing scheduled for October 14, 2020, at
     10:00 a.m. (ET).

MATTERS GOING FORWARD

4.   Motion for Relief from the Automatic Stay of Margaret Henderson, as Personal
     Representative of the Estate of N.G.H., Deceased (D.I. 1104, Filed 8/14/20).

     Objection Deadline: September 2, 2020, at 4:00 p.m. (ET).

     Responses Received:

            a)     The Future Claimants’ Representative’s Objections to Motions for Relief
                   from the Automatic Stay Brought by Marco Romero, Jr. and Audrey
                   Romero, Margaret Henderson, as Personal Representative of the Estate Of
                   N.G.H., Deceased, and Debtors with Respect to Lianfen Qian (D.I. 1221,
                   Filed 9/2/20);

            b)     The Official Committee of Tort Claimants’ Omnibus Objection to: (1)
                   Motion for Relief from the Automatic Stay of Margaret Henderson, as
                   Personal Representative of the Estate of N.G.H. Deceased [Docket No.
                   1104]; (2) Motion of Marco Romero Jr. and Audrey Romero for an Order
                   for Relief from the Automatic Stay Pursuant to Section 362(d) of the
                   Bankruptcy Code [Docket No. 1120]; (D.I. 1237, Filed 9/2/20); and

            c)     Debtors’ (A) Response in Support of the Henderson and Romero Motions
                   for Relief From the Automatic Stay and (B) Reply in Further Support of the
                   Motion of the Debtors for Entry of an Order (I) Approving Settlement of
                   Claim of Lianfen Qian and (II) Lifting the Automatic Stay, to the Extent
                   Necessary, to Permit Payment of Settlement Amount by Applicable
                   Insurance (D.I. 1245, filed 09/04/20).

     Related Pleadings:

            a)     Re-Notice of Motion for Relief from the Automatic Stay of Margaret
                   Henderson, as personal Representative of the Estate of N.G.H., Deceased
                   (D.I. 1247, filed 9/4/20).

     Status: This matter has been adjourned to the hearing scheduled for October 14, 2020.


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5.   Motion of Marco Romero, Jr. and Audrey Romero for an Order for Relief from the
     Automatic Stay Pursuant to Section 362(d) of the Bankruptcy Code (D.I. 1120, Filed
     8/19/20).

     Objection Deadline: September 2, 2020, at 4:00 p.m. (ET).

     Responses Received:

            a)     The Future Claimants’ Representative’s Objections to Motions for Relief
                   from the Automatic Stay Brought by Marco Romero, Jr. and Audrey
                   Romero, Margaret Henderson, as Personal Representative of the Estate Of
                   N.G.H., Deceased, and Debtors with Respect to Lianfen Qian (D.I. 1221,
                   Filed 9/2/20);

            b)     The Official Committee of Tort Claimants’ Omnibus Objection to: (1)
                   Motion for Relief from the Automatic Stay of Margaret Henderson, as
                   Personal Representative of the Estate of N.G.H. Deceased [Docket No.
                   1104]; (2) Motion of Marco Romero Jr. and Audrey Romero for an Order
                   for Relief from the Automatic Stay Pursuant to Section 362(d) of the
                   Bankruptcy Code [Docket No. 1120]; (D.I. 1237, Filed 9/2/20);

            c)     Reply of Marco Romero, Jr. and Audrey Romero in Support of Their
                   Motion for an Order for Relief from the Automatic Stay Pursuant to Section
                   363(d) of the Bankruptcy Code (D.I. 1244, filed 09/04/20); and

            d)     Debtors’ (A) Response in Support of the Henderson and Romero Motions
                   for Relief From the Automatic Stay and (B) Reply in Further Support of the
                   Motion of the Debtors for Entry of an Order (I) Approving Settlement of
                   Claim of Lianfen Qian and (II) Lifting the Automatic Stay, to the Extent
                   Necessary, to Permit Payment of Settlement Amount by Applicable
                   Insurance (D.I. 1245, filed 09/04/20).

     Related Pleadings: None.

     Status: This matter is going forward.

6.   Motion of the Debtors for Entry of an Order (I) Approving Settlement of Claim of Lianfen
     Qian and (II) Lifting the Automatic Stay, to the Extent Necessary, to Permit Payment of
     Settlement Amount by Applicable Insurance (D.I. 1123, Filed 8/19/20).

     Objection Deadline: September 2, 2020, at 4:00 p.m. (ET).




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     Responses Received:

            a)     The Future Claimants’ Representative’s Objections to Motions for Relief
                   from the Automatic Stay Brought by Marco Romero, Jr. and Audrey
                   Romero, Margaret Henderson, as Personal Representative of the Estate Of
                   N.G.H., Deceased, and Debtors with Respect to Lianfen Qian (D.I. 1221,
                   Filed 9/2/20); and

            b)     Debtors’ (A) Response in Support of the Henderson and Romero Motions
                   for Relief From the Automatic Stay and (B) Reply in Further Support of the
                   Motion of the Debtors for Entry of an Order (I) Approving Settlement of
                   Claim of Lianfen Qian and (II) Lifting the Automatic Stay, to the Extent
                   Necessary, to Permit Payment of Settlement Amount by Applicable
                   Insurance (D.I. 1245, filed 09/04/20).

     Related Pleadings: None.

     Status: This matter is going forward.

7.   Debtors’ Application for Entry of an Order Authorizing the Retention and Employment of
     Quinn Emanuel Urquhart & Sullivan, LLP as Special Litigation Counsel for the Debtors
     and the Debtors-in-Possession, Nunc Pro Tunc to August 1, 2020 (D.I. 1125, Filed
     8/20/20).

     Objection Deadline: September 2, 2020, at 4:00 p.m. (ET).

     Responses Received:

            a)     Informal comments Committee of Tort Claimants;

            b)     Century’s Limited Objection to Debtors’ Application for Entry of an Order
                   Authorizing the Retention and Employment of Quinn Emanuel Urquhart &
                   Sullivan, LLP as Special Litigation Counsel for the Debtors and the
                   Debtors-in-Possession, Nunc Pro Tunc to August 1, 2020 (D.I. 1243, filed
                   09/03/20).

     Related Pleadings:

            a)     Notice of Revised Order Authorizing the Retention and Employment
                   of Quinn Emanuel Urquhart & Sullivan, LLP as Special Litigation
                   Counsel for the Debtors and the Debtors-In-Possession, Nunc Pro Tunc
                   to August 1, 2020 (D.I. 1274, Filed 9/8/20).

     Status: This matter is going forward.




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8.   Debtors’ Motion Pursuant to Section 105(a) of the Bankruptcy Code and ¶ 27 of the Bar
     Date Order for Entry of an Order (I) Supplementing the Bar Date Order and (II) Granting
     Related Relief (D.I. 1145, Filed 8/25/20).

     Objection Deadline: At the Hearing.

     Responses Received:

            a)     Herman Law's Response to Debtors' Motion Pursuant to Section 105(a) of
                   the Bankruptcy Code and ¶ 27 of the Bar Date Order for Entry of an Order
                   (I) Supplementing the Bar Date Order and (II) Granting Related Relief (D.I.
                   1186, Filed 8/28/20);

            b)     Objection of the Coalition of Abused Scouts for Justice to Debtors’ Motion
                   to Supplement the Bar Date Order (D.I. 1190, Filed 8/28/20); and

            c)     Century’s Joinder to the Debtors’ Motion [Dkt. 1145] and Objection to the
                   Pleading Filed by the Entity Calling Itself the “Coalition of Abused Scouts
                   for Justice” [Dkt. 1190] and Appearance of Brown Rudnick and Blank
                   Rome Firms on its Behalf (D.I. 1196, Filed 8/30/20);

            d)     Objection of Napoli Shkolnik PLLC to Debtors’ Motion to Supplement
                   the Bar Date Order (D.I. 1200, Filed 8/31/20);

            e)     Supplemental Brief of the Coalition of Abused Scouts for Justice to
                   Debtors’ Motion to Supplement the Bar Order (D.I. 1264, Filed 9/4/20);

            f)     Century’s Supplemental Submission in Support of Its Joinder to the
                   Debtors’ Motion [DKT. 1145] Century’s Separate Request for Relief,
                   Objection to the Coalition’s Motion that Its Rule 2019 Statement be
                   Accepted [DKT. 1190] Objection to the Coalition’s Motion to be
                   Deemed a Mediation Party (D.I. 1266, Filed 9/8/20); and

            g)     Declaration of Tancred Schiavoni in Support of Century’s
                   Supplemental Submission in Support of Its Joinder to the Debtors’
                   Motion [DKT. 1145] and Objection to the Pleading Filed by the Entity
                   Calling Itself the “Coalition of Abused Scouts for Justice” [DKT. 1190]
                   and Appearance of Brown Rudnick and Blank Rome Firms on Its
                   Behalf (D.I. 1267, Filed 9/8/20).




     Related Pleadings:

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            a)     Debtors’ Motion for Entry of an Order Shortening the Notice Period with
                   Respect to the Debtors’ Motion Pursuant to Section 105(a) of the
                   Bankruptcy Code and ¶ 27 of the Bar Date Order for Entry of an Order (I)
                   Supplementing the Bar Date Order and (II) Granting Related Relief (D.I.
                   1146, Filed 8/25/20);

            b)     Order Shortening the Notice Period with Respect to the Debtors’ Motion
                   Pursuant to Section 105(a) of the Bankruptcy Code and ¶ 27 of the Bar Date
                   Order for Entry of an Order (I) Supplementing the Bar Date Order and (II)
                   Granting Related Relief (D.I. 1148, Entered 7/31/20);

            c)     Notice of the Debtors’ Motion Pursuant to Section 105(a) of the Bankruptcy
                   Code and ¶ 27 of the Bar Date Order for Entry of an Order (I)
                   Supplementing the Bar Date Order and (II) Granting Related Relief (D.I.
                   1149, Filed 8/25/20);

            d)     Affidavit of Service (D.I. 1157, Filed 8/26/20);

            e)     Supplemental Declaration of Evan Roberts in Support of the Debtors’
                   Motion Pursuant to Section 105(a) of the Bankruptcy Code and ¶ 27 of the
                   Bar Date Order for Entry of an Order (I) Supplementing the Bar Date Order
                   and (II) Granting Related Relief (D.I. 1192, Filed 8/30/20);

            f)     Debtors’ Supplemental Brief in Support of Their Motion Pursuant to
                   Section 105(a) of the Bankruptcy Code and ¶ 27 of the Bar Date Order for
                   Entry of an Order (I) Supplementing the Bar Date Order and (II) Granting
                   Related Relief (D.I. 1260, Filed 9/4/20); and

            g)     Notice of Filing of Revised Proposed Order (I) Supplementing the Bar Date
                   Order and (II) Granting Related Relief (D.I. 1262, Filed 9/4/20).

     Status: This matter is going forward. Two of the Debtors’ declarants in support of this
     motion, Evan Roberts and John Doherty, will be available for cross-examination. The
     Debtors' other declarant, Dr. Shannon Wheatman, will not be available to testify
     tomorrow due to personal reasons. The Debtors are in the process of conferring with
     the objecting parties to confirm that no party plans to cross examine Dr. Wheatman.

9.   Motion of the Coalition of Abused Scouts for Justice for an Order (I) Authorizing the
     Coalition to File Under Seal Exhibit A to the Amended 2019 Statement and (II) Approving
     the Sufficiency of the Amended 2019 Statement (D.I. 1144, Filed 8/24/20).

     Objection Deadline: September 2, 2020, at 4:00 p.m. (ET). Extended to September 7,
     2020 at 4:00 p.m. (ET) for the Debtors.
     Responses Received:



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 a)    Objection to Motion of the Coalition of Abused Scouts for Justice for an
       Order (I) Authorizing the Coalition to File Under Seal Exhibit A to the
       Amended 2019 Statement and (II) Approving the Sufficiency of the
       Amended 2019 Statement (D.I. 1219, Filed 9/2/20);

 b)    [SEALED] Opposition to the Motion of the Coalition of Abused Scouts For
       Justice For an Order (I) Authorizing the Coalition to File Under Seal Exhibit
       A to the Amended 2019 Statement and (II) Approving the Sufficiency of
       the Amended 2019 Statement (D.I. 1220, Filed 9/2/20);

 c)    United States Trustee’s Objection to Motion of the Coalition of Abused
       Scouts for Justice for an Order (I) Authorizing the Coalition to File Under
       Seal Exhibit A to the Amended 2019 Statement and (II) Approving the
       Sufficiency of the Amended 2019 Statement (D.E. 1144) (D.I. 1223, Filed
       9/2/20);

 d)    Objection of Allianz Global Risks US Insurance Company and National
       Surety Corporation to Motions of the Coalition of Abused Scouts for Justice
       (A) for an Order (I) Authorizing the Coalition to File Under Seal Exhibit A
       to the Amended 2019 Statement and (II) Approving the Sufficiency of the
       Amended 2019 Statement; and (B) To Participate in Mediation (D.I. 1224,
       Filed 9/2/20);

 e)    [SEALED] Objection of the Tort Claimants’ Committee to Motion of the
       Coalition Of Abused Scouts for Justice for an Order (I) Authorizing the
       Coalition to File Under Seal Exhibit A to the Amended 2019 Statement and
       (II) Approving the Sufficiency of the Amended 2019 Statement (D.I. 1227,
       Filed 9/2/20);

 f)    [REDACTED] Objection of the Tort Claimants’ Committee to Motion of
       the Coalition Of Abused Scouts for Justice for an Order (I) Authorizing the
       Coalition to File Under Seal Exhibit A to the Amended 2019 Statement and
       (II) Approving the Sufficiency of the Amended 2019 Statement (D.I. 1228,
       Filed 9/2/20);

 g)    Opposition to the Motion of the Coalition of Abused Scouts For Justice For
       an Order (I) Authorizing the Coalition to File Under Seal Exhibit A to the
       Amended 2019 Statement and (II) Approving the Sufficiency of the
       Amended 2019 Statement [REDACTED] (D.I. 1248, Filed 9/4/20); and

 h)    Century’s Joinder in the Objection of the United States Trustee (D.I. 1223)
       to the Motion of the Entity Calling Itself the “Coalition” Filing Under Seal
       All the Exhibits to Its Motion and Amended 2019 Statement (D.I. 1144)
       (D.I. 1261, Filed 9/4/20).




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      Related Pleadings:

             a)     [SEALED] Exhibit A to the Amended Verified Statement of Coalition of
                    Abused Scouts for Justice Pursuant to Bankruptcy Rule 2019 (D.I. 1143,
                    Filed 8/24/20);

             b)     Amended Notice of Motion of the Coalition of Abused Scouts for Justice
                    for an Order (I) Authorizing the Coalition to File Under Seal Exhibit A to
                    the Amended 2019 Statement and (II) Approving the Sufficiency of the
                    Amended 2019 Statement (D.I. 1150, Filed 8/25/20);

             c)     Omnibus Reply of the Coalition of Abused Scouts for Justice to Objections
                    to (A) Motion for an Order (I) Authorizing the Coalition to File Under Seal
                    Exhibit A to the Amended 2019 Statement and (II) Approving the
                    Sufficiency of the Amended 2019 Statement, and (B) Motion of the
                    Coalition to Participate in the Mediation (D.I. 1257, Filed 9/4/20);

             d)     Motion of the Coalition of Abused Scouts for Justice for Leave to File
                    Omnibus Reply of the Coalition of Abused Scouts for Justice to Objections
                    to (A) Motion for an Order (I) Authorizing the Coalition to File Under Seal
                    Exhibit A to the Amended 2019 Statement and (II) Approving the
                    Sufficiency of the Amended 2019 Statement, and (B) Motion of the
                    Coalition to Participate in the Mediation (D.I. 1259, Filed 9/4/20);

             e)     Motion for Entry of an Order Authorizing Tort Claimants’ Committee
                    to File Under Seal Portions of the (A) Objection of the Tort Claimants’
                    Committee to Motion of the Coalition of Abused Scouts for Justice for
                    an Order (I) Authorizing the Coalition to File Under Seal Exhibit A to
                    the Amended 2019 Statement and (II) Approving the Sufficiency of the
                    Amended 2019 Statement; and the (B) Objection of the Tort Claimants’
                    Committee to Motion of the Coalition of Abused Scouts for Justice to
                    Participate in the Mediation (D.I. 1268, Filed 9/8/20); and

             f)     Debtors’ Motion for Leave to File Debtors’ Omnibus Response to the
                    Motions of the Coalition of Abused Scouts for Justice (A) for an Order
                    (I) Authorizing the Coalition to File Under Seal Exhibit A to the
                    Amended 2019 Statement and (II) Approving the Sufficiency of the
                    Amended 2019 Statement and (B) to Participate in the Mediation (D.I.
                    1269, Filed 9/8/20).

      Status: This matter is going forward.

10.   Motion of the Coalition of Abused Scouts for Justice to Participate in The Mediation (D.I.
      1161, Filed 8/26/20).

      Objection Deadline: September 2, 2020, at 4:00 p.m. (ET). Extended to September 7,
      2020 at 4:00 p.m. (ET) for the Debtors.

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Responses Received:

       a)     Objection of Hartford Accident and Indemnity Company, First State
              Insurance Company and Twin City Fire Insurance Company to Motion of
              the Coalition of Abused Scouts for Justice to Participate in the Mediation
              (D.I. 1222, Filed 9/2/20);

       b)     Objection of Allianz Global Risks US Insurance Company and National
              Surety Corporation to Motions of the Coalition of Abused Scouts for Justice
              (A) for an Order (I) Authorizing the Coalition to File Under Seal Exhibit A
              to the Amended 2019 Statement and (II) Approving the Sufficiency of the
              Amended 2019 Statement; and (B) To Participate in Mediation (D.I. 1224,
              Filed 9/2/20);

       c)     [SEALED] Objection of the Tort Claimants’ Committee to Motion of the
              Coalition of Abused Scouts for Justice to Participate in the Mediation (D.I.
              1229, Filed 9/2/20);

       d)     [REDACTED] Objection of the Tort Claimants’ Committee to Motion of
              the Coalition of Abused Scouts for Justice to Participate in the Mediation
              (D.I. 1231, Filed 9/2/20); and

       e)     Objection of Century and Other Listed Insurers to the Motion Filed by the
              Entity Calling Itself the Coalition of Abused Scouts for Justice to Participate
              in the Mediation (D.I. 1230, Filed 9/2/20).

Related Pleadings:

       a)     Omnibus Reply of the Coalition of Abused Scouts for Justice to Objections
              to (A) Motion for an Order (I) Authorizing the Coalition to File Under Seal
              Exhibit A to the Amended 2019 Statement and (II) Approving the
              Sufficiency of the Amended 2019 Statement, and (B) Motion of the
              Coalition to Participate in the Mediation (D.I. 1257, Filed 9/4/20) and

       b)     Motion of the Coalition of Abused Scouts for Justice for Leave to File
              Omnibus Reply of the Coalition of Abused Scouts for Justice to Objections
              to (A) Motion for an Order (I) Authorizing the Coalition to File Under Seal
              Exhibit A to the Amended 2019 Statement and (II) Approving the
              Sufficiency of the Amended 2019 Statement, and (B) Motion of the
              Coalition to Participate in the Mediation (D.I. 1259, Filed 9/4/20); and


       c)     Debtors’ Motion for Leave to File Debtors’ Omnibus Response to the
              Motions of the Coalition of Abused Scouts for Justice (A) for an Order
              (I) Authorizing the Coalition to File Under Seal Exhibit A to the


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                    Amended 2019 Statement and (II) Approving the Sufficiency of the
                    Amended 2019 Statement and (B) to Participate in the Mediation (D.I.
                    1269, Filed 9/8/20).

      Status: This matter is going forward.

11.   Century and Hartford’s Motion to Compel the Attorneys Representing the Entity Calling
      Itself the “Coalition” to Submit the Disclosures Required by Federal Rule of Bankruptcy
      Procedure 2019 (D.I. 1164, Filed 8/26/20).

      Objection Deadline: September 2, 2020, at 4:00 p.m. (ET).

      Responses Received:

             a)     Joinder by Allianz Global Risks US Insurance Company and National
                    Surety Corporation to Century and Hartford’s Motion to Compel the
                    Attorneys Representing the Entity Calling Itself the “Coalition” to Submit
                    the Disclosures Required by Federal Rule of Bankruptcy Procedure 2019
                    (D.I. 1177, Filed 8/27/20);

             b)     Joinder by Agricultural Insurance Company to Century and Hartford’s
                    Motion to Compel the Attorneys Representing the Entity Calling Itself the
                    “Coalition” to Submit the Disclosures Required by Federal Rule of
                    Bankruptcy Procedure 2019 (D.I. 1218, Filed 9/2/20); and

             c)     Objection of the Coalition of Abused Scouts for Justice to Century to
                    Hartford’s Motion to Compel the Attorneys Representing the Entity Calling
                    Itself the “Coalition” to Submit the Disclosures Required by Federal Rule
                    of Bankruptcy Procedure 2019 (D.I. 1225, Filed 9/2/20).

      Related Pleadings:

             a)     Declaration of Janine Panchok-Berry in Support of Century and Hartford’s
                    Motion to Compel the Attorneys Representing the Entity Calling Itself the
                    “Coalition” to Submit the Disclosures Required by Federal Rule of
                    Bankruptcy Procedure 2019 (D.I. 1165, Filed 8/26/20); and

             b)     Exhibits to Declaration of Janine Panchok-Berry in Support of Century and
                    Hartford’s Motion to Compel the Attorneys Representing the Entity Calling
                    Itself the “Coalition” to Submit the Disclosures Required by Federal Rule
                    of Bankruptcy Procedure 2019 (D.I. 1166, Filed 8/26/20).

      Status: This matter is going forward.

12.   Debtors’ First Omnibus Motion for Entry of an Order (I) Authorizing the Debtors to
      Assume Certain Unexpired Leases of Nonresidential Real Property Pursuant to Section


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      365 of the Bankruptcy Code and (II) Fixing Cure Amounts with Respect Thereto (D.I.
      1168, Filed 8/26/20).

      Objection Deadline: September 2, 2020, at 4:00 p.m. (ET). Extended to September 4,
      2020, at 4:00 p.m. (ET) for the Committee of Tort Claimants.

      Responses Received:

             a)     Informal comments from the Committee of Tort Claimants; and

      Related Pleadings: None.

      Status: This matter is going forward.

13.   Hartford’s Motion for Entry of an Order Authorizing Hartford to File Under Seal (1)
      Portions of Hartford’s Opposition to the Coalition of Abused Scouts for Justice for an
      Order (I) Authorizing the Coalition to File Under Seal Exhibit A to the Amended 2019
      Statement and (II) Approving the Sufficiency of the Amended 2019 Statement; and (2)
      Exhibits 2, 3, 4 and 5 (D.I. 1249, Filed 9/4/20).

      Objection Deadline: At or prior to the hearing.

      Responses Received: None.

      Related Pleadings: None.

      Status: This matter is going forward.

14.   Motion for Entry of an Order Authorizing Tort Claimants’ Committee to File Under
      Seal Portions of the (A) Objection of the Tort Claimants’ Committee to Motion of the
      Coalition of Abused Scouts for Justice for an Order (I) Authorizing the Coalition to
      File Under Seal Exhibit A to the Amended 2019 Statement and (II) Approving the
      Sufficiency of the Amended 2019 Statement; and the (B) Objection of the Tort
      Claimants’ Committee to Motion of the Coalition of Abused Scouts for Justice to
      Participate in the Mediation (D.I. 1268, filed 9/8/20)

      Objection Deadline: September 9, 2020, at 10:00 a.m. (ET).




      Responses Received:


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      a)     Century’s Objection to Motion for Entry of an Order Authorizing the
             Tort Claimants’ Committee to File Under Seal the (A) Objection of the
             TCC to the Coalition for an Order (I) Authorizing the Coalition to File
             Under Seal Exhibit A to Its 2019 Statement and (II) Approving the
             Sufficiency of the Amended 2019 Statement; and the (B) Objection to
             the Tort TCC to the Motion of Coalition to Participate in the Mediation
             [Dkt. 1268] (D.I. 1270, Filed 9/8/20).

Related Pleadings: None.

Status: This matter is going forward.


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